 Case 1:18-cv-00950-LO-JFA Document 125 Filed 04/03/19 Page 1 of 7 PageID# 2727



                               UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF VIRGINIA


SONY MUSIC ENTERTAINMENT, et al.,

          Plaintiffs,                                       Case No. 1:18-cv-00950-LO-JFA

v.

COX COMMUNICATIONS, INC., et al.,

          Defendants.

            COX COMMUNICATIONS, INC. AND COXCOM LLC’S OPPOSITION TO
                      PLAINTIFFS’ MOTION FOR SANCTIONS


     I.      INTRODUCTION
             Plaintiffs complain disingenuously and inaccurately that Cox is “flouting” the Court’s

     order to create and produce a customer billing report. But Cox informed the Court and Plaintiffs

     that generating such a report would likely take a minimum of three to four weeks to complete,

     since Cox would have to engage an outside vendor to write, test, and run specialized software in

     order to retrieve historical data that Cox maintained in an inaccessible format. See Declaration of

     Paul Jarchow in Support of Cox’s Opposition to Plaintiffs’ February 1, 2019 Motion to Compel,

     ECF 103-2 (February 6, 2019 Jarchow Decl.) at ¶6. Cox informed Plaintiffs before they filed this

     motion that the report was taking longer than expected because unexpectedly a portion of the data

     had to be retrieved from backup tapes, but that Cox expected to produce the report this week. Cox

     did just that and produced the report earlier today.

             Plaintiffs will thus have received the billing report in advance of their 30(b)(6) deposition

     of Cox’s witness designated to testify on financial issues, and a full week before their expert reports



                                                       1
Case 1:18-cv-00950-LO-JFA Document 125 Filed 04/03/19 Page 2 of 7 PageID# 2728



are due. Cox acted diligently in good faith, and Plaintiffs have suffered no prejudice. Their

unnecessary motion for sanctions should be denied

II.    BACKGROUND
       In response to an earlier motion to compel, the Court ordered Cox to provide “billing

information… attributable to each subscriber for the time period from 2012 through 2016… on a

monthly basis.” See Golinveaux Decl., Ex. A. The Court did not require production by a date

certain. And the Court was aware that Cox estimated that it would take at least three to four weeks

to create such a report. Only after Cox had worked with its vendor to create software and begin

running the report did it discover that some of the data had to be retrieved from backup tapes and

that, therefore, the report was taking longer to run than initially anticipated. Cox explained this to

Plaintiffs last week before they filed this motion. Declaration of Jennifer A. Golinveaux in Support

of Cox’s Opposition to Plaintiffs’ Motion for Sanctions (Golinveaux Decl.), Ex. B. Cox will

produce the report on April 3, 2019.

       As Cox explained in detail in response to Plaintiffs’ February 1, 2019 Motion to Compel,

Cox’s historical billing information is not maintained in the form Plaintiffs demanded it, and would

be extremely burdensome to produce. Cox’s Opposition to Plaintiffs’ February 1, 2019 Motion to

Compel, ECF 103 at 4. Cox explained that producing the requested historical information from its

ICOMS system by means of an automated query is a complex process that involves bringing in an

outside vendor to develop a script to gather the appropriate information from the ICOMS system

for the approximately 58,000 Accused Subscribers. Id. Such a script requires development, testing,

and quality control steps before it can be run. Id. Cox’s best estimate was that this process would

take approximately 3 to 4 weeks to complete. Id. This estimate was based on the experience of

Cox’s Technical Director Paul Jarchow with other types of programming and reporting work that


                                                  2
Case 1:18-cv-00950-LO-JFA Document 125 Filed 04/03/19 Page 3 of 7 PageID# 2729



the same vendor had performed for Cox in the past. See February 6, 2019 Jarchow Decl. at ¶6.

However, Cox had never before attempted to create precisely this kind of report.

       Once the Court entered its February 15, 2019 Order, Cox promptly worked with its outside

vendor to write a script to query Cox’s ICOMS system for the requested information. April 3, 2019

Declaration of Paul Jarchow (April 3, 2019 Jarchow Decl.) at ¶ 4. After writing the script, the

vendor tested it by running it on a limited set of ICOMS data. Id. at ¶ 6. Cox worked with the

vendor to check and quality control the ICOMS script based on that test. Id. Once this initial testing

and quality control process was complete, the vendor ran the script on the full set of ICOMS data

that was available online. Id.

       Cox again worked with the vendor to check and quality control the result of that operation.

Id. at ¶ 7. During the quality control process, Cox discovered that certain data appeared to be

missing from the report. Id. On investigating, Cox discovered that certain historical data had been

archived to backup tapes and was no longer available online. Id. Consequently, the script had been

unable to retrieve or process that data when it ran. Id.

       Cox identified the missing data, and promptly took steps to restore it from backup tapes so

that the vendor could run the script on the full set of ICOMS data. Id. at ¶ 8. Backup tapes store a

large amount of data, but store it sequentially. Id. Because of the nature of backup tapes, restoring

data from tape is a time-consuming process. Id. First, the relevant backup tape must be located and

retrieved from storage. Id. Second, the relevant data must be located on the tape, which requires

reading the data on the tape in sequence, disregarding any irrelevant information that may be stored

at the beginning of the backup tape. Id. Third, the relevant data must be copied from the tape to an

online medium. Id.




                                                  3
Case 1:18-cv-00950-LO-JFA Document 125 Filed 04/03/19 Page 4 of 7 PageID# 2730



       There was no practical way to predict or avoid this delay. Because the ICOMS data for the

dates at issue would ordinarily have been stored in an accessible online format, it was reasonable

to assume that this particular data would be available online. February 6, 2019 Jarchow Decl. at

¶6. And there was no reasonable way to check, before running the report for the first time, that all

of the historical ICOMS data for all 58,000 subscribers at issue was still online. Id. at ¶3-5. To do

so, Cox would have had to review historical data from Cox’s ICOMS system for each of the nearly

58,000 subscribers at issue, which is an extremely time-consuming process. Id. at ¶5. Exacerbating

the problem, because the subscriber accounts at issue are located in multiple different markets, the

historical data for those accounts is stored in multiple different locations. Id. at ¶ 7. It would have

taken hundreds, perhaps thousands, of person-hours to check that the data to be retrieved was all

still available online—precisely the problem that the automated report was designed to solve. Id.

at ¶ 5. The full reports ordered by the court were produced to Plaintiffs on April 3, 2019.

       Plaintiffs served their Rule 30(b)(6) notice on Cox late the evening of Wednesday, March

20, noticing 49 detailed topics for deposition. They did so without any advance notice to Cox

whatsoever, and noticed the deposition to commence seven business days later on April 1 in

Washington D.C. As counsel advised plaintiffs, April 1 was also the week of the spring break

holiday for much of the country, and all but one of Cox’s anticipated Rule 30(b)(6) designees

were traveling that week, several out of the country. See Golinveaux Decl., Ex. C.

III.   ARGUMENT

       A party may be sanctioned for not obeying a discovery order. Fed. R. Civ. P. 37(b)(2)(A)

(“If a party … fails to obey an order to provide or permit discovery… the court where the action

is pending may issue … just orders.”). Plaintiffs’ request for sanctions should be denied because

Cox has produced the customer billing report ordered by the Court, Cox acted diligently and in



                                                  4
Case 1:18-cv-00950-LO-JFA Document 125 Filed 04/03/19 Page 5 of 7 PageID# 2731



good faith in creating and producing it, and Plaintiffs have suffered no prejudice by any delay in

receiving the report.

       Last Thursday, March 28, Plaintiffs contacted Cox’s counsel and demanded to receive the

customer billing report by Friday, March 29. Cox’s counsel explained that the report was taking

longer than expected because certain data had to be retrieved from backup tapes, but that Cox

expected to be able to produce it this week in advance of Plaintiffs’ Rule 30(b)(6) deposition of

Cox’s designated witness on financial issues. Plaintiffs then threatened to file a motion for

sanctions unless Cox would agree to extend Plaintiffs deadline to file their expert report on

damages by one week. Cox’s counsel asked why that was necessary, if Plaintiffs would have the

customer billing report at least several days in advance of the deposition, and a week before

Plaintiffs’ deadline to file expert reports. Golinveaux Decl., at ¶ 3. Plaintiffs responded by filing

this motion. Plaintiffs now have the customer billing report. Their argument that they have been

prejudiced by any delay in receiving the customer billing report is overstated as they have ample

time for their expert to review the report.

IV.    CONCLUSION
       Plaintiffs have the customer billing report ordered by the Court, Cox acted diligently and

in good faith in creating and producing it, and Plaintiffs have suffered no prejudice by any delay

in receiving the report. Plaintiffs motion should be denied in its entirety.



Dated: April 3, 2019                           s/ Thomas M. Buchanan
                                               Thomas M. Buchanan (VSB No. 21530)
                                               WINSTON & STRAWN LLP
                                               1700 K Street, NW
                                               Washington, DC 20006-3817
                                               Tel: (202) 282-5787
                                               Fax: (202) 282-5100
                                               Email: tbuchana@winston.com

                                                  5
Case 1:18-cv-00950-LO-JFA Document 125 Filed 04/03/19 Page 6 of 7 PageID# 2732




                                        Attorneys for Defendants Cox Communications, Inc.
                                        and CoxCom, LLC

Of Counsel for Defendants

Michael S. Elkin (pro hac vice)
Thomas Patrick Lane (pro hac vice)
WINSTON & STRAWN LLP
200 Park Avenue
New York, NY 10166-4193
Tel: (212) 294-6700
Fax: (212) 294-4700
Email: melkin@winston.com
Email: tlane@winston.com

Jennifer A. Golinveaux (pro hac vice)
WINSTON & STRAWN LLP
101 California Street, 35th Floor
San Francisco, CA 94111-5840
Tel: (415) 591-1000
Fax: (415) 591-1400
Email: jgolinveaux@winston.com

Diana Hughes Leiden (pro hac vice)
WINSTON & STRAWN LLP
333 S. Grand Avenue, Suite 3800
Los Angeles, CA 90071
Tel: (213) 615-1700
Fax: (213) 615-1750
Email: dhleiden@winston.com




                                          6
Case 1:18-cv-00950-LO-JFA Document 125 Filed 04/03/19 Page 7 of 7 PageID# 2733



                                CERTIFICATE OF SERVICE

I hereby certify that on April 3, 2019, the foregoing was filed and served electronically by the

Court’s CM/ECF system upon all registered users.



                                                     /s/ /Thomas M. Buchanan/
                                                     Thomas M. Buchanan (VSB No. 21530)
                                                     1700 K Street, NW
                                                     Washington, DC 20006-3817
                                                     Tel: (202) 282-5787
                                                     Fax: (202) 282-5100
                                                     Email: tbuchana@winston.com

                                                     Attorney for Cox Communications, Inc.
                                                     and CoxCom, LLC




                                                 7
